
Per Curiam.
We see no reason for interfering with the conclusion arrived at by the learned judge below. The evidence of the plaintiff in regard to the amount necessary to support the defendant was entirely unsatisfactory and un*882reliable; the figures of the principal witness not by any means maintaining his conclusions. It feems to be apparent from the evidence which was introduced upon the part of the plaintiff that the amount received by the defendant from the provisions made for her by her husband was not in excess of that which was necessary for her decent and proper support; and there seems to be no reason why any part of the money with which the husband had endeavored to provide for the support of his widow should be anticipated by her creditors, and she deprived of the use of the same for the purpose of support. The question in regard to the form of the judgment entered has been discussed in the opinion on the appeal from the order in this action, decided herewith. 54 St. Rep. S85. The judgment should be affirmed, with costs.
All concur.
